 

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WISCONSIN

 

MICHAEL A. KOWALCZUK,
Plaintiff,

Vv. Case No. 2:19-cv-1230

SERGEANT ERIC GIESE and
VILLAGE OF MOUNT PLEASANT,

Defendants.

 

DECLARATION OF ANDREW YUST IN
SUPPORT OF MOTION FOR SUMMARY JUDGMENT

 

I, Andrew Yust, declare pursuant to 28 U.S.C. § 1746, as follows:

1. I am employed by the Village of Mt. Pleasant Police Department and make this
declaration based upon my personal knowledge and from records maintained during the regular
course of the department’s business.

2. In the course of my employment I regularly maintain and serve as the custodian of
property and evidence for the department.

3. Following the September 3, 2013, incident at issue in this matter, the video
recording from Officer Eric Giese’s squad car was preserved and maintained. A true and correct

copy of the preserved video is attached as Exhibit A.

 

 

VERIFICATION
I declare under penalty of perjury that the foregoing is true and correct.
yO
Dated Mey _/  , 2020.
Jude
Andrew Yust /

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